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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA

(1) CRAIG ALLEN PHELPS,       )
                              )
           Plaintiff,         )
                              )
 v.                           ) Case No. CIV-23-755-F
                              )
(2) DANIEL HOLLIMAN,          )
(3) TOWN OF DIBBLE, OKLAHOMA, )
                              )
           Defendants.        )

             DEFENDANT TOWN OF DIBBLE’S REPLY TO PLAINTIFF’S
               RESPONSE IN OPPOSITION TO DEFENDANT TOWN’S
                     MOTION FOR SUMMARY JUDGMENT

       COMES NOW the Defendant Town of Dibble (“Town”) and respectfully submits

its Reply to Plaintiff’s Response in Opposition [Dkt. #45] to the Town’s Motion for

Summary Judgment. [Dkt. #33]. Plaintiff fails to provide a factual or legal basis to

overcome summary judgment.

                 REPLY TO PLAINTIFF’S RESPONSE TO TOWN’S
                    MATERIAL UNCONTROVERTED FACTS

       The Town incorporates and adopts by reference the previously articulated Material

Uncontroverted Facts (“MUFs”) included in Officer Holliman’s Reply to Plaintiff’s

Response to the Town’s Motion for Summary Judgment filed simultaneously herewith.

[Dkt. 48].




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                                        ARGUMENT

I. Plaintiff Fails to Demonstrate Breach of Duty or Causation.

       Plaintiff failed to sufficiently demonstrate that Officer Holliman breached a legal

duty owed to the Plaintiff or that such a breach directly caused Plaintiff's injuries. Plaintiff

relies only on generalized standards of care without addressing the specific circumstances

of the two incidents. Additionally, Plaintiff’s argument lacks evidence regarding the

alleged “objectively unreasonable” use of force. Further, Plaintiff provides no evidence of

a direct causal link between the alleged breach and Plaintiff’s injuries, as required under

Oklahoma law. Therefore, the Town should be granted summary judgment as a matter of

law.

II. Negligence Claim under OGTCA is Unsubstantiated.

       Plaintiff’s claim against the Town for negligence under Oklahoma Governmental

Tort Claims Act (“OGTCA”) lacks merit. The OGTCA’s framework protects

governmental entities from liability for discretionary acts performed in the course of law

enforcement. Plaintiff has failed to account for this statutory limitation. Further, as Plaintiff

pointed out, “a police officer has a special dispensation from the duty of ordinary care not

to endanger others.” Payne v. Myers, No. 14-CV-39-GKF-TLW, 2015 WL 5775188, at

*13–14 (N.D. Okla. Sept. 30, 2015) (quoting Morales, 230 P.3d at 880. Based on the

OGTCA’s statutory limitations and the special dispensation afforded Officer Holliman as

to the duty of care he owed Plaintiff, Officer Holliman’s actions were reasonable. Plaintiff,

while handcuffed and being escorted out of a room in the jail, as well as the hospital, pulled

away from Officer Holliman causing Officer Holliman to believe he was resisting and

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therefore posed a threat to Officer Holliman. 1 Given these circumstances the takedown

maneuver performed by Officer Holliman on Plaintiff was objectively reasonable.

Therefore, the Town should be granted summary judgment as a matter of law.

III. Excessive Force Claims Are Unsupported by Facts.

         Plaintiff’s reliance on Morales and related case law overlooks the need to

demonstrate objective unreasonableness specific to the incident in question. Plaintiff

argues that the Fourth Amendment analysis of excessive force is identical to that of

Oklahoma law. Under either legal standard, Plaintiff has failed to meet the evidentiary

burden to show that when Plaintiff pulled away from Officer Holliman, Officer Holliman’s

conduct of performing a takedown maneuver on Plaintiff, both at the jail and at the hospital,

were objectively unreasonable. Therefore, the Town should be granted summary judgment

as a matter of law.

IV. The Town of Dibble Is Entitled to Summary Judgment.

         The Town is entitled to summary judgment on both procedural and substantive

grounds. Plaintiff has failed to establish that any genuine dispute of material fact exists

which would necessitate a trial. And further, Plaintiff has failed to meet the burden of proof

necessary to proceed to trial by failing to establish that the Town, through Officer

Holliman’s actions, was negligent or that such negligence caused the alleged harm.




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    Both incidents were captured on video. Scott v. Hargis, ___.
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                                   CONCLUSION

       For the reasons set forth above and in the Town’s Motion for Summary Judgment,

Defendant Town of Dibble respectfully requests this Court grant its Motion for Summary

Judgment in its entirety.

                                               Respectfully submitted,


                                               /s/ Scott B. Wood
                                               Scott B. Wood
                                               WOOD, PUHL & WOOD, PLLC
                                               4037 E. 49th St.
                                               Tulsa, Oklahoma 74135
                                               (918) 742-0808/ (918) 607-5946
                                               Attorney for the Town of Dibble

                            CERTIFICATE OF SERVICE

       This is to certify that on November 27, 2024, I electronically transmitted the
foregoing document to the Clerk of Court using the ECF System for filing and transmittal
of a Notice of Electronic Filing to the following ECF registrants:

Daniel E. Smolen, OBA #19943
Robert M. Blakemore, OBA #18656
Bryon D. Helm, OBA # 33003
Attorneys for Plaintiff

                                         /s/ Scott B. Wood




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